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AO 106 {Rev. 04/10) Application for a Search Warrant


                                                 United States District Court
                                                                                          for the
                                                                    Western District of New York

                                                 In the Matter of the Search of
                              (Briefly describe theproperly to besearchedor identify theperson by name and address.)


  Gmail    email   accounts    trentclarklafS.gmail.com. agarl42Ql@,gmail.com.
  craigmerkinl8@gmail.com and sohungrvwanttacos@gmaiI.com
                                                                                                                                       Case No. 18-mj-1053
  Stored at premises controlled by Google Inc. a provider headquartered at
  1600 Amphitheatre Parkway, Mountain View, CA 94043

                                                  APPLICATION FOR A SEARCH WARRANT

            I, a federal law enforcement officer or an attorney for the government, request a search warrant and state
under penalty of perjury that I have reason to believe that on the following person or property (identify theperson or describe the
property to besearched andgive its location)'.


 Gmail email accounts trentclarkla@gmail.com. agarl4201@.gmail.com. craigmerkinl8@.gmail.com and
 sohungrvwanttacos@.gmail.com. as further described in Attachment A, attached hereto,

located in the Northern District of California, there is now concealed (identify theperson or describe theproperty to be seized):
  See Attachment B, attached hereto and incorporated herein by reference.

The basis for search under Fed. R. Grim. P. 41(c) is (check one or more):
       El evidence of a crime;
       El contraband, fruits of crime, or other items illegally possessed;
       ^ property designed for use, intended for use, or used in committing a crime;
            •     a person to be arrested or a person who is unlawfully restrained.
The search is related to violations ofTitle 18, United States Code, Sections 2251,2252 and 2252A and Title 18, United
States Code, Section 2422.

The application is based on these facts:

            s     continued on the attached sheet.
            •     Delayed notice of                       days (giveexact ending date if more than 30 days:                                            ) is
                  requested under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                                 r     \ N   Applicant'ssignature

                                                                                                       JEFFREY MCAULIFFE
                                                                                                       TASK FORCE OFFICER
                                                                                                       FEDERAL BUREAU OF INVESTIGATION
                                                                                                                             Printed name and title


Sworn to before me and signed in my presence.

Date: AnriWY2018                                                                                                             0
                                                                                                                                 Judzfs signature


                                                                                                       JEREMIAH J. McCarthy
City and state: Buffalo. New York                                                                      UNITED STATESMAGISTRATE JUDGE
                                                                                                                              Printed name and Title
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